              Case 8:19-bk-03039-RCT       Doc 47     Filed 07/09/20     Page 1 of 4



                                       ORDERED.

   Dated: July 09, 2020




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                      Case No.: 8:19-bk-03039-RCT
                                                            Chapter 7
Rodolfo Marin

DEBTORS                       /

             ORDER GRANTING TRUSTEE’S MOTION TO SELL
      REAL PROPERTY FREE AND CLEAR OF ALL LIENS AND INTERESTS,
PAY SECURED CREDITOR(S), INTERESTED PARTIES AND TRANSACTIONAL COSTS
                (6987 74th Street Cir. E., Bradenton, FL 34203)

         THIS CASE came for hearing before the court on July 7, 2020 at 10:00 a.m. to consider
Chapter 7 Trustee, Beth Ann Scharrer’s (“Trustee”) Motion to Sell Real Property Free and Clear
of Liens and Interests Pay Secured Creditors, Interested Parties and Transactional Costs (the
“Motion”) (Dkt. No. 42). Richard M. Dauval, Esq. appeared on behalf of the Trustee. No other
appearances were made. Having considered the Motion, noting that no objections have been raised
by any interested party, and for the reasons stated orally in open court, the Court finds that the
Motion should be GRANTED. Accordingly, it is:
         ORDERED as follows:
         1.     The notice of the Motion and the hearing thereon is approved as proper and
adequate under the circumstances.
         2.     The Motion is GRANTED.
            Case 8:19-bk-03039-RCT            Doc 47     Filed 07/09/20      Page 2 of 4




       3.      The Trustee is authorized to sell the real property located at:

Lot 185, River Place, a Subdivision, according to the Plat thereof, recorded in Plat Book 42,
Page 173, of the Public Records of Manatee County, Florida.

more commonly known as, 6987 74th Street Cir. E., Bradenton, FL 34203, (the “Real

Property”), for the gross sale price of $370,000.00 (which includes a 11 U.S.C. § 506(c)

surcharge (or, “carve out”) of $18,500.00, pursuant to 11 U.S.C. § 363(f), free and clear of all

liens, encumbrances and interests, and in accordance with the terms provided for in the Motion

and as provided further below.

       4.      The Trustee is authorized to pay the secured mortgage creditor Mr. Cooper

(hereinafter “Mr. Cooper” or “Secured Creditor”) the amount necessary to release their lien as of

the date of closing.

       5.      Bayrock Mortgage Corporation (“Bayrock Mortgage”), junior mortgage

lienholders by virtue of mortgage recorded in Official Records Book 2218, Page 5713, of the

Public Records of Manatee County, Florida shall be allowed thirty (30) days from the entry of the

instant order to file an unsecured claim for the total owed to Bayrock Mortgage by the Debtor as

of the date of the filing of the petition, and that claim shall be deemed timely filed.

       6.      The eighteen thousand five hundred dollars ($18,500.00) 11 U.S.C. § 506(c)

surcharge (or, “carve out”) described in the Motion, and to be paid to the benefit of the

bankruptcy estate at the closing of the sale of the Real Property, is unencumbered by the liens of

the Real Property (i.e., Mr. Cooper, Bayrock Mortgage, et. al.).

       7.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtor in the Real Property to

Benjamin Santiago and Cristina Crespo (the “Buyers”).
            Case 8:19-bk-03039-RCT          Doc 47      Filed 07/09/20     Page 3 of 4




       8.      The Buyers have not assumed any liabilities of the Debtors. The Buyers are found

to be good faith buyers, disinterested parties and otherwise bonafide purchasers. The Buyers

shall be afforded the protections provided under 11 U.S.C. § 363(m), and shall take the Real

Property free and clear of liens, encumbrances and interests.

       9.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

respect to the real property included among the purchased assets; and (b) other anticipated

closing costs (estimated below):

       Total Sales/Brokers Commission:
       6% of base sale price to Jubilee Real Estate Corp.                 $ 22,200.00*
       *this commission is intended to be shared with a cooperating agent.
       Title Charges:                                                     $ 4,175.00
       Government recording / transfer charges:                           $ 2,590.00
       Satisfaction of Liens:
               Mr. Cooper                                                 $ 317,699.85
       River Place Property Owners Association                            $ 4,500.00
       Misc. (Wire Fees)                                                  $ 32.00

       It is understood that the above anticipated closing costs and taxes are subject to per diem

charges, changes in prorations, and otherwise represent approximate amounts. The Trustee is

authorized to pay these amounts to the respective payees, or their reasonable equivalent amounts,

depending on the subjective per diem alteration. The Trustee is to use her best business judgment

and in the event a closing cost, including the satisfaction of liens, changes materially from the

amounts listed above, the Trustee shall seek further relief from the court prior to making such a

payment. Otherwise, payment to the above contemplated payees, in amounts above approximate

amounts due to industry standard changes in value will not violate this court order.
             Case 8:19-bk-03039-RCT          Doc 47     Filed 07/09/20      Page 4 of 4




       10.     This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects, including

retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

disputes arising under or related to the purchase agreement, and (c) resolve any disputes

regarding liens, claims, or interests asserted against the Real Property.

       11.     The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by both parties

without further order of the Court, provided that any such modification, amendment or

supplement does not have a material adverse effect on the Debtor’s bankruptcy estate.

Richard M. Dauval, Esq., is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of the order.
